                Case 2:11-cr-00454-JAM Document 77 Filed 11/29/12 Page 1 of 3


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 4

 5
     Attorney for Defendant
     JOSEPH ANDRADE
 6
                              IN THE UNITED STATES DISTRICT COURT
                            FOR THE EASTERN DISTRICT OF CALIFORNIA
 7

 8

     UNITED STATES OF AMERICA,                       )       No. CR-S-11-454-GEB
 9
                                                     )
                                                     )
10           Plaintiff,                              )       STIPULATION REGARDING
                                                     )       EXCLUDABLE TIME PERIODS
11
     v.                                              )       UNDER SPEEDY TRIAL ACT;
                                                     )       [PROPOSED] FINDINGS AND ORDER
12
     JOSEPH ANDRADE,                                 )
                                                     )
13
                                                     )       Date: January 25, 2013
                                                     )       Time: 9:00 a.m.
14
             Defendant.                              )       Judge: Honorable Garland E. Burrell, Jr.
                                                     )
15
                                                     )
16

17
             The United States of America through its undersigned counsel, Jill Thomas, Assistant
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19   United States Attorney, together with counsel for defendant Joseph Andrade, John R. Manning,

20   Esq., hereby stipulate the following:
21
          1. By previous order, this matter was set for status conference on December 7, 2012.
22
          2. By this stipulation, the defendant now moves to continue the status conference until
23

24
     January 25, 2013 and to exclude time between December 7, 2012 and January 25, 2013 under the

25   Local CodeT-4 (to allow defense counsel time to prepare).
26
          3. The parties agree and stipulate, and request the Court find the following:
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              Case 2:11-cr-00454-JAM Document 77 Filed 11/29/12 Page 2 of 3


            a. Counsel for the defendant needs additional time to review the discovery and conduct
 1

 2              investigation.

 3          b. Currently the discovery in this case includes 2,962 pages, 14 video DVDs, and 1
 4
                audio CD.
 5
            c. Counsel for the defendant believe the failure to grant a continuance in this case would
 6

 7
                deny defense counsel reasonable time necessary for effective preparation, taking into

 8              account the exercise of due diligence.
 9          d. The Government does not object to the continuance.
10
            e. Based on the above-stated findings, the ends of justice served by granting the
11
                requested continuance outweigh the best interests of the public and the defendant in a
12

13              speedy trial within the original date prescribed by the Speedy Trial Act.

14          f. For the purpose of computing time under the Speedy Trial Act, 18 United States Code
15
                Section 3161(h)(7)(A) within which trial must commence, the time period of
16
                December 7, 2012 to January 25, 2013, inclusive, is deemed excludable pursuant to
17
                18 United States Code Section 3161(h)(7)(A) and (B)(ii) and (iv), corresponding to
18

19              Local Code T-4 because it results from a continuance granted by the Court at

20              defendant’s request on the basis of the Court’s finding that the ends of justice served
21
                by taking such action outweigh the best interest of the public and the defendant in a
22
                speedy trial.
23
        4. Nothing in this stipulation and order shall preclude a finding that other provisions of the
24

25   Speedy Trial Act dictate that additional time periods are excludable from the period within which

26   a trial must commence.
27
        IT IS SO STIPULATED.
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                                                      2
                            Case 2:11-cr-00454-JAM Document 77 Filed 11/29/12 Page 3 of 3


     Dated: November 27, 2012                                            /s/ John R. Manning
 1
                                                                        JOHN R. MANNING
 2                                                                      Attorney for Defendant
                                                                        Joseph Andrade
 3

 4
     Dated: November 27, 2012                                           Benjamin B. Wagner
 5                                                                      United States Attorney

 6                                                              by:     /s/ Jill Thomas
 7
                                                                        JILL THOMAS
                                                                        Assistant U.S. Attorney
 8
                                                       ORDER
 9

10                         IT IS SO FOUND AND ORDERED.

11
     Date: 11/29/2012
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13
                                                   ___________________________________
14                                                 GARLAND E. BURRELL, JR.
                                                   Senior United States District Judge
15   DEAC_Signature-END:




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     61khh4bb
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